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\kcyBP/TPW: USA° 2016R00037
                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND                        nfl SEP 1

    UNITED STATES OF AMERICA
                                                                                   PA. II CH—r7
              v.                                          •     CRIMINAL NO.

    DAWN J. BENNETT,                                      •     (Bank Fraud, 18 U.S.C. § 1344; False
                                                          •     Statements on Loan Application, 18
                       Defendant                          •     U.S.C. § 1014; Aiding and Abetting, 18
                                                          •     U.S.C. § 2; Forfeiture, 18 U.S.C. §§ 981
                                                          •     and 982, 21 U.S.C. § 853, and 28 U.S.C.
                                                          •     § 2461)




                                                   INDICTMENT

                                                    COUNT ONE
                                                    (Bank Fraud)

            The Grand Jury for the District of Maryland charges that:

            At all times relevant to this Indictment:

                                                 Introduction

            1.        Defendant DAWN J. BENNETT ("BENNETT") was a resident of Maryland.

   BENNETT was the Chief Executive Officer of DJB Holdings, LLC, doing business as

   DJBennett.com.

            2.        DJBennett.com was an internet retail business that sold sports apparel.

   DJBennett.com's offices were located in Washington, D.C.

            3.        DJBennett.com was owned by a holding company called DJB Holdings, LLC.

   BENNETT was the 100% owner of DJB Holdings, LLC.

            4.        Employee #1 was the Chief Financial Officer of DJBennett.com.

            5.        Eagle Bancorp, Inc. ("EagleBank") was a financial institution within the meaning
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of Title 18, United States Code, Section 20, and had its deposits insured by the Federal Deposit

Insurance Corporation ("FDIC"). EagleBank had locations in Maryland, Virginia, and

Washingon, D.C., including in Bethesda, Maryland.

       6.      BENNETT had sole signatory authority for at least the following bank accounts:

               a.     United Bank account ending in 2054 in BENNETT's name ("United 2054

Account");

               b.     EagleBank account ending in 2656 in the name of DJB Holdings, LLC

("EagleBank 2656 Account"); and

               c.     First Republic Bank account ending in 2861 in the name of DJB Holdings,

LLC ("FRB 2861 Account").

       7.      Between at least in or about December 2014 and in or about July 2017,

BENNETT and others known and unknown to the Grand Jury recruited individuals to invest in

DJBennett.com. BENNETT made numerous misrepresentations to these individuals in order to

entice them to invest in her business, and promised them high rates of return, typically around

15% per annum.

       8.      Between at least in or about November 2014 and in or about March 2017,

BENNETT and Employee #1 attempted to obtain loans on behalf of DJB Holdings, LLC and

DJBennett.com.

       9.      In or about May 2015, EagleBank extended a $750,000 line of credit to borrower

DJB Holdings, LLC, with BENNETT as guarantor, with a loan date of May 19, 2015, and a

maturity date of May 19, 2016. According to the Business Loan Agreement, dated May 19,

2015, and signed by BENNETT, DJB Holdings agreed to "[u]se all Loan proceeds solely for

Borrower's business operations, unless specifically consented to the contrary by Lender in

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writing." According to a Disbursement Request and Authorization, also dated May 19, 2015,

and also signed by BENNETT, the primary purpose of the loan was "business (including real

estate investment)." The specific purpose of the loan was "short term working capital."

                                    The Scheme to Defraud

       10.     Between at least in or about November 2014 and in or about July 2017, in the

District of Maryland and elsewhere, the defendant,

                                    DAWN J. BENNETT,

and others known and unknown to the Grand Jury, knowingly and willfully executed, and

attempted to execute, a scheme and artifice to defraud EagleBank and to obtain money, funds,

and credits under the custody and control of EagleBank by means of materially false and

fraudulent pretenses, representations, and promises ("the scheme to defraud").

                                      Manner and Means

       11.     It was part of the scheme to defraud that BENNETT and Employee #1 obtained

and attempted to obtain loans from financial institutions in order to repay DJBennett.com

investors and lenders.

       12.     It was further part of the scheme to defraud that BENNETT and Employee #1

applied for and obtained a $750,000 line of credit from EagleBank on behalf of DJB Holdings,

LLC.

       13.     It was further part of the scheme to defraud that BENNETT and Employee #1

made materially false and fraudulent representations to EagleBank in support of this loan. The

materially false statements, included, among other things, that BENNETT had a brokerage

account with a net portfolio value of over $4 million. In fact, BENNETT's brokerage account

had a net portfolio value of approximately $35.

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       14.     It was further part of the scheme to defraud that BENNETT obtained money and

property that was under the custody and control of EagleBank, including $250,000 on or around

May 20, 2015 and $500,000 on or around May 27, 2015.

       15.     It was further part of the scheme to defraud that, after the loan was approved,

BENNETT and Employee #1 deposited or caused to be deposited the loan proceeds into the

EagleBank 2656 Account, which was controlled by BENNETT. BENNETT and Employee #1

then transferred or caused to be transferred significant portions of the loan proceeds into the FRB

2861 Account and the United 2054 Account.

       16.     It was further part of the scheme to defraud that, after the loan proceeds were

transferred into the FRB 2861 Account and the United 2054 Account, BENNETT used the

money to repay BENNETT's investors and to pay BENNETT's personal expenses.

       17.     It was further part of the scheme to defraud that, after EagleBank declared the

loan in default, BENNETT made further false representations to EagleBank as to why the loan

had not been repaid, including that BENNETT had been overseas in China, when in fact she had

not been in China.




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       18.      On or about May 19, 2015, in the District of Maryland and elsewhere, the

defendant,

                                     DAWN J. BENNETT,

did knowingly and willfully execute and attempt to execute, and aid and abet the execution of,

the scheme to defraud EagleBank by using false documentation to obtain a loan for DJB

Holdings, LLC.



18 U.S.C. § 1344
18 U.S.C. §2




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                                        COUNT TWO
                           (False Statements on a Loan Application)

       The Grand Jury for the District of Maryland further charges that:

       1.       Paragraphs 1 through 17 of Count One are incorporated here.

       2.       On or about April 27, 2015, in the District of Maryland and elsewhere, the

defendant,

                                     DAWN J. BENNETT,

knowingly made and caused to be made, and aided and abetted the making of, false statements

for the purpose of influencing in any way the actions of EagleBank, the deposits of which were

then insured by the Federal Deposit Insurance Corporation, that is, BENNETT made and caused

to be made, and aided and abetted the making of, materially false statements regarding her assets

in an email submitted to EagleBank for the purpose of securing a loan.



18 U.S.C. § 1014
18 U.S.C. § 2




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                                    FORFEITURE ALLEGATION

        The Grand Jury for the District of Maryland further finds that:

        1.      Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the

defendant that the United States will seek forfeiture as part of any sentence in accordance with

18 U.S.C. §§ 981 and 982 and 28 U.S.C. § 2461(c), in the event of the defendant's conviction on

Counts One through Two of this Indictment.

                                       Bank Fraud Forfeiture

        2.      As a result of the offense set forth in Count One, the defendant,

                                       DAWN J. BENNETT,

shall forfeit to the United States, pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 982(a)(2)(A), any

property, constituting, or derived from, proceeds traceable to or obtained, directly or indirectly,

as the result of such violations.

        3.      The property to be forfeited includes, but is not limited to, at least $750,000 in

United States currency and all interest and proceeds traceable thereto, in that such sum, in

aggregate, constitutes proceeds obtained, directly or indirectly, as a result of such violation.

                                     False Statements Forfeiture

        4.      As a result of the offense set forth in Count Two, the defendant,

                                       DAWN J. BENNETT,

shall forfeit to the United States, pursuant to 18 U.S.C. § 981 and 28 U.S.C. § 2461(c), any

property, real or personal, which represents or is traceable to the gross receipts obtained, directly

or indirectly, from the offense.




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        5.      The property to be forfeited includes, but is not limited to, at least $750,000 in

United States currency and all interest and proceeds traceable thereto, in that such sum, in

aggregate, constitutes proceeds obtained, directly or indirectly, as a result of such violation.

                                          Substitute Assets

       6.       If any of the property described above as being subject to forfeiture, as a result of

any act or omission of the defendant:

                a.     cannot be located upon the exercise of due diligence;

                b.     has been transferred or sold to, or deposited with, a third person;

                c.     has been placed beyond the jurisdiction of the Court;

                d.     has been substantially diminished in value; or,

                e.     has been commingled with other property which cannot be subdivided

                       without difficulty;

the United States shall be entitled to forfeiture of substitute property, pursuant to 21 U.S.C.

§ 853(p), up to the value of the forfeitable property, that is, at least $750,000.



18 U.S.C. § 981
18 U.S.C. § 982
21 U.S.C. § 853
28 U.S.C. § 2461(c)

                                                                                     ib3F)
                                                   Stephen M. Schenning
                                                   Acting United States Attorney

A TRUE BILL:

 SIGNATURE REDACTED
                                                   Date:       September 11, 2017
Foreperson



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